     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 1 of 10 Page ID #:1




1    Elliot Gale (Bar #263326)
     egale@gajplaw.com
2    Joe Angelo (Bar #268542)
     jangelo@gajplaw.com
3    Gale, Angelo, Johnson, & Pruett, P.C.
     1430 Blue Oaks Blvd., Ste. 250
4    Roseville, CA 95747
     916-290-7778 ph
5    916-721-2767 fax
6     Attorneys for Plaintiff
      Cassandra Copeland
7

8
                            UNITED STATES DISTRICT COURT

9            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10

11                                            CASE NO. 2:21-cv-06491
12
      Cassandra Copeland
13
                         Plaintiff,           PLAINTIFF’S COMPLAINT FOR
                                              DAMAGES:
14
            v.                                  1. Violation of the Rosenthal Fair Debt
15
                                                   Collection Practices Act
16    Opportunity Financial, LLC                2. Violation of the Telephone Consumer
                                                   Protection Act
17
                         Defendant.
18

19          COMES NOW Plaintiff Cassandra Copeland, an individual, based on
20    information and belief, to allege as follows:
21                                    INTRODUCTION
22       1. This is an action for damages brought by an individual consumer for
23    Defendant Opportunity Financial LLC’s violations of the Rosenthal Fair Debt
24    Collection Practices Act, Cal. Civ. Code §1788, et seq. (hereinafter “Rosenthal
25    Act”), which prohibits debt collectors from engaging in abusive, deceptive, and
26    unfair practices and violation of the Telephone Consumer Protection Act 47 U.S.C.
27

28

                                                1
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 2 of 10 Page ID #:2




1    §227, et seq. (hereinafter “TCPA”), which prohibits the use of automated dialing
2    equipment when making calls to consumers.
3        2. Plaintiff brings this action against Defendant Opportunity Financial, LLC
4     (hereinafter “Defendant” or “Opportunity”) for its abusive and outrageous conduct
5     in connection with debt collection activity.
6        3. In Calif. Civil Code § 1788.1(a)-(b), the California Legislature made the
7     following findings and purpose in creating the Rosenthal Act:
8
            (a)(1) The banking and credit system and grantors of credit to consumers are
            dependent upon the collection of just and owing debts. Unfair or deceptive
9           collection practices undermine the public confidence which is essential to
10          the continued functioning of the banking and credit system and sound
            extensions of credit to consumers.
11

12           (2) There is need to ensure that debt collectors and debtors exercise their
13
             responsibilities to another with fairness and honesty and due regard or the
             rights of the other.
14

15           (b) It is the purpose of this title to prohibit debt collectors from engaging in
             unfair or deceptive acts of practices in the collection of consumer debts and
16
             to require debtors to act fairly in entering into and honoring such debts, as
17           specified in this title.
18
         4. While many violations are described below with specificity, this Complaint
19
      alleges violations of the statutes cited in their entirety.
20
         5. The TCPA was designed to prevent calls like the ones described herein, and
21
      to protect the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress
22
      intended to give consumers a choice as to how corporate entities may contact them
23
      and to prevent the nuisance associated with automated or prerecorded calls.
24
                                  JURISDICTION & VENUE
25
         6. Plaintiff re-alleges and incorporates herein by reference the allegations in
26
      each and every paragraph above, fully set forth herein.
27

28

                                                   2
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 3 of 10 Page ID #:3




1        7. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and
2           15 U.S.C. § 1681
3        8. This venue is proper pursuant to 28 U.S.C. §1391(b)(1).
4        9. Plaintiff resides within the Central District of California.
5        10.The consumer agreement at issue with Opportunity was entered into within
6     the Central District of California.
7        11.Opportunity does business through the State of California.
8                               GENERAL ALLEGATIONS
9        12. Plaintiff Cassandra Copeland (hereinafter “Plaintiff”) is an individual
10    residing in the state of California and is a “debtor” as defined by Cal. Civ. Code
11    §1788.2(g).
12       13. At all relevant times herein, Opportunity was a company engaged, by the
13    use of mail, email, and telephone, in the business of collecting a debt from Plaintiff,
14    and a “consumer debt,” as defined by Cal. Civ. Code §1788.2(f).
15       14. At all relevant times, Defendant acted as a “debt collector” within the
16    meaning of Cal. Civ. Code §1788.2(c)
17       15. Plaintiff opened a credit card account issued by Defendant sometime in
18    early 2020.
19       16. Opportunity was responsible for the extension of credit on Plaintiff’s credit
20   account.
21       17. The loan Plaintiff took from Defendant were extended primarily for
22   personal, family or household purposes and is therefore a “debt” as that terms is
23   defined by the Calif. Civil Code § 1788.2(d) of the Rosenthal Act.
24       18. Defendant has been attempting to collect on a debt that originated from
25   monetary credit that was extended primarily for personal, family, or household
26   purposes, and was therefore a “consumer credit transaction” within the meaning of
27   Calif. Civil Code § 1788.2(3) of the Rosenthal Act.
28

                                                 3
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 4 of 10 Page ID #:4




1        19. Because Plaintiff, a natural person allegedly obligated to pay money to
2     Defendant rising from what Plaintiff is informed and believes was a consumer
3    credit transaction, the money allegedly owed was a “consumer debt” within the
4    meaning of California Civil Code § 1788.2(f) of the Rosenthal Act.
5        20. Plaintiff is informed and believes that Defendant is one who regularly
6    collects or attempts to collect debts on behalf of themselves, and is therefore a
7    “debt collector” within the meaning of the Calif. Civil Code § 1788.2(c) of the
8    Rosenthal Act, and thereby engages in “debt collection” within the meaning of the
9    California Civil Code § 1788.2(b) of the Rosenthal Act, and is also therefore a
10   “person” within the meaning of California Civil Code § 1788.2(g) of the Rosenthal
11   Act.
12       21. Plaintiff’s account was an unsecured credit accounts and Plaintiff began
13    making payments on the account shortly after the account was open and used for
14    purchases.
15       22. Plaintiff eventually became financially unable to continue making
16    payments on his account.
17       23. Defendant began contacting Plaintiff to inquire about the status of the
18    account and to collect on the payments that were no longer being made.
19       24. Plaintiff retained counsel to assist in dealing with Defendant’s accounts and
20    to seek some type of financial relief.
21       25. Counsel for Plaintiff sent Defendant a letter confirming representation of
22    Plaintiff and informing Defendant that it was to no longer contact Plaintiff directly
23    and that all calls/letters/collection efforts were to no longer be directed at Plaintiff.
24       26. The contents of the letter also informed Defendant that Plaintiff was
25    withdrawing his consent to be contacted on his cellular telephone.
26       27. Plaintiff’s notice was sent to Defendant on April 20, 2021 via certified mail.
27       28. Defendant received the certified notice on April 27, 2021.
28

                                                  4
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 5 of 10 Page ID #:5




1        29. Defendant continued to call Plaintiff after the April 20, 2021 certified notice
2     of representation and revocation of consent was received.
3        30. Defendant continued to contact Plaintiff after she revoked her consent; the
4    type of contact was through multiple daily phone calls to Plaintiff’s cellular
5     telephone.
6        31. Defendant would call Plaintiff numerous times each day demanding
7     payment on the account and often Plaintiff was contacted two or three times a day.
8        32. Defendant would use an automatic dialing machine when placing the calls
9     to Plaintiff.
10       33. Defendant’s automatic dialing machine has the capacity to generate
11    numbers.
12       34. Defendant would use a pre-recorded voice when calling Defendant.
13       35. Plaintiff was contacted repeatedly regarding non-payment of the debt owed
14    to Defendant despite Defendant being notified that Plaintiff had retained counsel
15    to deal specifically with the debt owed to Defendant.
16       36. Defendant would leave pre-recorded messages on Plaintiff’s cellular
17    telephone.
18       37. Most of the messages left by Defendant when Plaintiff did not answer the
19    collection calls were pre-recorded.
20       38. Defendant’s calls were frequent in nature and continued despite receiving
21    written notice that Plaintiff was represented by an attorney and that all calls to
22    Plaintiff’s cellular telephone were to stop.
23
                                  FIRST CAUSE OF ACTION
                                 (Violation of the Rosenthal Act)
24                              (Cal. Civ. Code §§ 1788-1788.32)
25                                     (Against Defendant)
26
         39. Plaintiff realleges and incorporates herein the allegation in each and every
27
      paragraph above as though fully set forth herein.
28

                                                 5
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 6 of 10 Page ID #:6




1        40. Plaintiff provided written notice that she was represented by an attorney by
2     sending Defendant a letter with the name, address, and contact information of her
3     attorney and informed Defendant that she was represented.
4        41. The contact information of Plaintiff’s counsel was provided in the notice that
5     was sent to Defendant.
6        42. Defendant continued to call and attempt to make contact with Plaintiff
7     despite receiving notice of representation and being informed that Plaintiff had
8     retained counsel in an effort to deal with the debt that was owed to Defendant.
9        43. The calls and communications made by Defendant to Plaintiff were not
10    related to statements of Plaintiff’s account and were attempts to collect a debt.
11       44. Plaintiff received at least 25 calls from Defendant after she informed
12    Defendant that he retained an attorney.
13       45. Defendant was clearly notified about Plaintiff’s representation given the
14    contact of the letter and notice of representation.
15       46. The notice that Plaintiff sent to Defendant included the name of Plaintiff’s
16    attorney, the address of Plaintiff’s attorney, and the phone number of Plaintiff’s
17    attorney.
18       47. Defendant violated Cal. Civ. Code §1788.14 by contacting Plaintiff after
19    receiving noticed that Plaintiff had retained an attorney.
20
                              SECOND CAUSE OF ACTION
                               (Violation of the Rosenthal Act)
21                            (Cal. Civ. Code §§ 1788-1788.32)
22                                    (Against Defendant)
23
         48.Plaintiff realleges and incorporates herein the allegation in each and every
24
            paragraph above as though fully set forth herein.
25
         49. Defendant placed at least 25 calls to Plaintiff.
26
         50. Plaintiff was contacted multiple times per day by Defendant.
27

28

                                                 6
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 7 of 10 Page ID #:7




1        51. Defendant sent written payment demands and collection notices to Plaintiff
2     in addition to the 25-plus phone calls.
3        52. Defendant violated Cal. Civ. Code §1788.11 by calling Plaintiff over 45 times
4     in a deliberate attempt to call Plaintiff repeatedly and annoy Plaintiff.
5
                                THIRD CAUSE OF ACTION
                                   (Intrusion Upon Seclusion)
6                                      (Against Defendant)
7        53.Plaintiff realleges and incorporates herein the allegations in each and every
8           paragraph above as set forth herein.
9        54.The California legislature explicitly recognized a consumer’s inherent right to
10    privacy in collection matters in passing the Rosenthal Fair Debt Collection Practices
11    Act and incorporating most of the Federal Act’s provisions into the Rosenthal Act.
12       55.According to findings by the FCC, the agency Congress vested with authority
13    to issue regulations implementing the TCPA, such calls are prohibited because, as
14    Congress found, automated or prerecorded telephone calls are a greater nuisance and
15    invasion of privacy than live solicitation calls, and such calls can be costly and
16    inconvenient.
17       56.Opportunity intentionally interfered, physically or otherwise, with the solitude
18    and seclusion of Plaintiff, namely by engaging in unlawful and intrusive
19    communications.
20       57.Opportunity intentionally caused harm to Plaintiff’s emotional well-being by
21   engaging in highly offensive conduct in the course of collecting its debt, and thereby
22   invaded and intruded upon Plaintiff’s rights to privacy.
23       58.Plaintiff has a reasonable expectation of privacy in her solitude, seclusion,
24   and/or private concerns and affairs.
25       59.These intrusions and invasions against Plaintiff by Opportunity occurred in a
26   way that would be highly offensive to a reasonable person in that position.
27

28

                                                 7
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 8 of 10 Page ID #:8




1        60.Opportunity notice stating that it was no longer to contact Plaintiff as she was
2     represented by counsel and revoked her consent to be contacted on her cellular
3     telephone.
4        61.As a result of such invasions of privacy, Plaintiff is entitled to actual damages
5    in an amount to be determined at trial from Opportunity.
6        Cal. Civ. Code § 3294
7        62.Opportunity also acted with oppression, fraud, and/or malice, thereby entitling
8    Plaintiff to exemplary damages in an amount according to proof and a finder of fact
9    at trial.
10       63.Opportunity had actual knowledge that it continued to violate both state and
11   federal collection laws as it received notice regarding representation of Plaintiff by
12   an attorney.
13       64.These calls were done with knowledge that Plaintiff was represented by
14   counsel and could not be communicating directly with Plaintiff, let alone using an
15   automated telephone dialing system.
16       65.Given Defendant’s knowledge of Plaintiff’s representation and revocation of
17    consent, these calls were an attempt to collect a debt in an illegal manner with a
18    conscious disregard for Plaintiff’s rights under both the Rosenthal Fair Debt
19    Collection Practices Act and the Telephone Consumer Protection Act.
20       66.Given Defendant’s knowledge of Plaintiff’s representation and revocation of
21    consent, Defendant’s illegal communications were done to intentionally subject
22    Plaintiff to the unjust hardship of receiving at least 25 calls.
23       67.The sheer volume of calls was intentionally designed to exhaust Plaintiff into
24   paying Defendant.
25       68.Opportunity also acted with oppression, fraud, and/or malice, thereby entitling
26   Plaintiff to punitive damages in an amount according to proof and a finder of fact at
27   trial.
28
                               FOURTH CAUSE OF ACTION

                                                  8
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 9 of 10 Page ID #:9




1
                                     (Violation of the TCPA)
                                         (47 USC § 227)
2                                      (Against Defendant)
3

4        69.Plaintiff realleges and incorporates herein the allegation in each and every
5     paragraph above as though fully set forth herein.
6        70.Defendant was informed that Plaintiff revoked his consent to be contacted
7     by Defendant in April of 2021.
8        71.Defendant called Plaintiff repeatedly since Plaintiff withdrew her consent to
9     be contacted by an automatic dialing machine on her cellular telephone.
10       72.Defendant received Plaintiff’s notices, sent to Defendant through certified
11    mail, and continued to contact Plaintiff on her cellular telephone.
12       73.Defendant continued to use a pre-recorded voice when placing unauthorized
13    calls to Plaintiff’s cellular telephone.
14       74.Defendant would contact Plaintiff multiple times each day regarding
15    payment on the accounts.
16       75.Defendant placed the above cited calls using an artificial or prerecorded
17    voice to deliver the collection messages without Plaintiff’s prior express consent.
18       76.Defendant contacted Plaintiff at least 25 times after she revoked her consent
19    to be contacted on her cellular telephone and informed Opportunity she was
20    represented by counsel.
21       77.Plaintiff was still contacted multiple times each day on her cellular telephone
22    despite receiving notice of Plaintiff’s revocation of consent.
23       78.All calls placed by Defendant to Plaintiff utilized an “automatic telephone
24    dialing system” as defined by 47 U.S.C. §227(a)(1).
25       79.These calls were made to Plaintiff’s cellular telephone and were not calls for
26    an emergency purposed as defined by 47 U.S.C. §227(b)(1)(A)(iii).
27       80.Plaintiff expressly revoked any consent that may have previously been given
28    to Defendant to be contacted by an automatic dialing machine in April of 2020.

                                                 9
     Case 2:21-cv-06491-MWF-KES Document 1 Filed 08/11/21 Page 10 of 10 Page ID #:10




1         81.These telephone calls by Defendant, or its agent, violated 47 U.S.C.
2      227(b)(1)(A)(iii).
3                                  DEMAND FOR JURY TRIAL
4             Pursuant to Federal Rules of Civil Procedure 38, Plaintiff hereby demands a
5      trial by jury for all issues of fact triable by jury.
6                                    PRAYER FOR RELIEF
7      WHEREFORE, Plaintiff prays for judgment as follows:
8                a. An award of actual damages pursuant to California Civil Code
9                    §1788.30(a), as will be proven at trial, which are cumulative and in
10                   addition to all other remedies provided for in any other cause of action
11                   pursuant to California Civil Code §1788.32.
12               b. An award of statutory damages of $1,000.00 pursuant to Cal. Civ.
13                   Code §1788.30(b), which are cumulative and in addition to all other
14                   remedies provided for in California Civil Code §1788.32; and
15               c. An award of costs of litigation and reasonable attorney’s fees pursuant
16                   to Cal. Civ. Code §1788.30(c).
17               d. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.
18                   §227(b)(3)(C) for each and every violation.
19               e. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting
20                   such conduct in the future.
21

22
                                                 Gale, Angelo, Johnson, & Pruett, P.C.
23     Dated: August 11, 2021                    By:     /s/ Joe Angelo
24                                                       Elliot Gale
                                                         Joe Angelo
25
                                                         Attorneys for Plaintiff
26

27

28

                                                    10
